
PER CURIAM.
The appellant, plaintiff in the trial court, seeks review of a final judgment rendered in favor of the defendant following a non-jury trial.
*574Unfortunately, the trial proceedings were not transcribed and the record has not been perfected in accordance with the principles announced in Potash v. Dry &amp; Company, 8 Fla.Supp. 174, which procedure was cited with approval by this court in Moyer v. Moyer, Fla.App.1959, 114 So.2d 638.
Therefore, not having the evidence before us that was taken in the trial court, we have no alternative but to affirm the final judgment. See: Hall v. Davis, Fla.App. 1958, 106 So.2d 599.
Affirmed.
